Case 1:18-cv-23332-JEM Document 12 Entered on FLSD Docket 11/15/2018 Page 1 of 1



                        UN ITED STA TES D ISTRICT COU RT FOR TH E
                             SO UTH ERN D ISTRICT O F FLOR IDA
                                     M IA M ID IVISIO N

                 C ase Num ber: 18-23332-CIV -M A RT IN EZ-O TA ZO -R EY ES

  FERYA L M O HA M M A D AN D W A JDA N
  M OHA M M A D ,

         Plaintiffs,

  VS.

  CITIBAN K ,N .A .,

         Defendant.


                  FIN A L O R D ER O F D ISM ISSA L W ITH PR EJU D ICE A N D
                  O R DE R D EN YIN G A LL PEN D IN G M O TIO N S A S M O O T

         TH IS M A TTER is before the Court upon Plaintiffs' Stipulation of D ism issal w ith

  Prejudice(ECFNo.11j.ltis:
         ADJUDGED thatthisaction isDISM ISSED with prejudice.Al1partiesagreeto bear
  theirown feesand costs Itisalso:

         A D JUD G ED that al1pending m otions in this case are D EN IED A S M O O T,and this

  case isC LO SED .

     DONEANDORDEREDinChambersatMiami,Florida,this1$ dayofNovember,2018.

                                                               f
                                                  JO S .M A RTIN EZ
                                                  17N 1 D STA TES D ISTRICT JU DG E

  Copies provided to:
  M agistrate Judge Otazo-R eyes
  A 11CounselofRecord
